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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-967V
                                        UNPUBLISHED


    REGINA SALIOT, as Prochein Ami for                      Chief Special Master Corcoran
    RICHARD SALIOT, Incapacitated
    Person,                                                 Filed: October 20, 2021

                        Petitioner,                         Special Processing Unit (SPU);
    v.                                                      Ruling on Entitlement; Concession;
                                                            Table Injury; Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                 Guillain-Barre Syndrome (GBS)
    HUMAN SERVICES,

                       Respondent.


Dennis W. Potts, Dennis W. Potts, Esq., Honolulu, HI, for Petitioner.

Kimberly Shubert Davey, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

        On August 4, 2020, Regina Saliot, on behalf of her husband, Richard Saliot, filed
a petition for compensation under the National Vaccine Injury Compensation Program,
42 U.S.C. §300aa-10, et seq.2 (the “Vaccine Act”). Petitioner alleges that he suffered
Guillan-Barré Syndrome (GBS) as a result of an influenza (flu) vaccination received on
October 29, 2019 . Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

       On October 8, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at

1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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1. Specifically, “[I]t is [R]espondent’s position that “ [P]etitioner has satisfied the criteria
set forth in the Vaccine Injury Table (“Table”) and the Qualifications and Aids to
Interpretation (“QAI”). Id. at 9. Respondent further agrees that the scope of damages is
limited to Petitioner’s GBS and its related sequelae only. Id. at 10.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                    s/Brian H. Corcoran
                                    Brian H. Corcoran
                                    Chief Special Master




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